                                                  Case 2:18-cv-04677-SMB Document 1 Filed 12/14/18 Page 1 of 7




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                                              Attorneys for Plaintiff
                                          6                                              UNITED STATES DISTRICT COURT
                                          7                                                  DISTRICT OF ARIZONA
                                          8   Best Western International, Inc., an Arizona
                                              non-profit corporation,                                          No.
                                          9
201 East Washington Street, Suite 1200




                                                                                                               COMPLAINT
                                         10                                                    Plaintiff,
Phoenix, Arizona 85004-2595




                                         11                vs.
                                         12
                                              2245883 Ontario, Inc., an Ontario
                                         13   corporation; Kareem Eusoph Sethi and Jane
                                              Doe Sethi, husband and wife,
                                         14
                                         15                                                 Defendants.
                                         16
                                                           Plaintiff Best Western International, Inc. (“Best Western”), for its Complaint
                                         17
                                              against Defendants 2245883 Ontario, Inc. (“Ontario”), Kareem Eusoph Sethi, and Jane
                                         18
                                              Doe Sethi, alleges as follows:
                                         19
                                                                                       PARTIES, JURISDICTION, AND VENUE
                                         20
                                                           1.           Plaintiff Best Western is a non-profit corporation organized under the laws
                                         21
                                              of the State of Arizona with its headquarters located in Phoenix, Arizona.
                                         22
                                                           2.           Defendant Ontario is an Ontario corporation with its principal place of
                                         23
                                              business in Toronto, Ontario. Defendant Ontario owns the hotel located at 808 Mount
                                         24
                                              Pleasant Road, Toronto, Ontario (the “Hotel”). The Hotel, which was independently
                                         25
                                              owned and operated, was known as the Best Western Roehampton Hotel & Suites.
                                         26
                                                           3.           Defendant Kareem Eusoph Sethi (“Sethi”) is a resident of Toronto, Ontario,
                                         27
                                              and was designated as the Voting Member for the Hotel. As the Voting Member, he
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                                                 Case 2:18-cv-04677-SMB Document 1 Filed 12/14/18 Page 2 of 7




                                          1   agreed to be personally liable for all of the obligations owed to Best Western.
                                          2           4.     Defendant Jane Doe Sethi is Kareem Eusoph Sethi’s spouse and is a
                                          3   resident of Toronto, Ontario. She is named for community property purposes.
                                          4           5.     Pursuant to the Best Western Membership Agreement (“Membership
                                          5   Agreement”), executed by Defendant Ontario on August 9, 2010, Defendants agreed that
                                          6   all disputes arising from or related to the membership application process, the
                                          7   membership agreement, or termination of membership shall be resolved exclusively in
                                          8   the state or federal courts in Maricopa County, Arizona.
201 East Washington Street, Suite 1200




                                          9           6.     This Court has jurisdiction over the claims and venue is proper pursuant to
                                         10   28 U.S.C. §§ 1391 and 1332 because: (1) Best Western is an Arizona non-profit
Phoenix, Arizona 85004-2595




                                         11   corporation with its principal place of business in Phoenix, and its witnesses are either
                                         12   located in Phoenix or available in Phoenix; (2) Defendants are citizens of Toronto,
                                         13   Ontario; (3) the amount in controversy exceeds $75,000.00; (4) there are no matters
                                         14   pending between the parties in any other jurisdiction; and (5) Defendants executed a
                                         15   contract that contained a forum-selection clause requiring all disputes arising from or
                                         16   related to that contract to be resolved by an Arizona state or federal court according to
                                         17   Arizona law.
                                         18           7.     The exercise of personal jurisdiction over Defendants by this Court is
                                         19   proper pursuant to and because, among other reasons, Defendants expressly agreed to
                                         20   litigate all disputes with Best Western arising from or related to their contract with Best
                                         21   Western, or any relationship between the parties, in the state or federal courts located in
                                         22   Maricopa County, Arizona
                                         23                                 GENERAL ALLEGATIONS
                                         24           8.     Best Western is a hotel-industry, service organization that operates on a
                                         25   cooperative basis by and for its hotelier members, which are independent owners and
                                         26   operators of Best Western® branded hotels.
                                         27           9.     Best Western provides its members with a reservation system and
                                         28   marketing campaigns, as well as an option to participate in collective purchasing of hotel
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                                                 Case 2:18-cv-04677-SMB Document 1 Filed 12/14/18 Page 3 of 7




                                          1   equipment, furnishings, and supplies (the “Best Western Services”), among other services
                                          2   that members can elect to purchase.
                                          3           10.   The rights and obligations of Best Western’s members are determined by
                                          4   the membership and are set forth in the Membership Agreement, Best Western’s Bylaws
                                          5   & Articles (the “Bylaws”), Best Western’s Rules and Regulations (the “Rules and
                                          6   Regulations”), and other Best Western “Regulatory Documents,” as that term is defined
                                          7   in Best Western’s Bylaws (collectively the “Regulatory Documents”), which includes
                                          8   resolutions and policies adopted by the Board from time to time.
201 East Washington Street, Suite 1200




                                          9           11.   In exchange for receiving the Best Western Services, Best Western
                                         10   members are obligated to, among other things, pay annual dues, monthly fees, fees for
Phoenix, Arizona 85004-2595




                                         11   services, membership fees, and other assessments or charges and to abide by all
                                         12   obligations as may be established from time to time in the Bylaws and Rules and
                                         13   Regulations, which are expressly incorporated by reference into the Membership
                                         14   Agreement. See Ex. A, Membership Agreement at ¶¶ 11-12.
                                         15           12.   The membership fees are due December 1 of each year but are billed, as a
                                         16   courtesy to members, in monthly installments over the course of the following year.
                                         17           13.   Annual dues are charged in August of each year. All other dues, fees and
                                         18   assessments are billed monthly.
                                         19           14.   Pursuant to Best Western Bylaws Article II, Section 5 (B), “if the Member
                                         20   resigns or is terminated, all fees, dues, and charges for the remainder of the fiscal year . . .
                                         21   become immediately due and payable.” See Ex. B, Bylaws Article II, Section 5(B).
                                         22           15.   Each Best Western member is authorized to use the trade name, trademarks,
                                         23   service marks, logos, and other intellectual property and similar identifying symbols
                                         24   owned by Best Western in connection with its hotel pursuant to a limited, non-exclusive
                                         25   license (the “Best Western License”), which is set forth in the Membership Agreement.
                                         26   See Ex. A, Membership Agreement at ¶ 20.
                                         27           16.   The Membership Agreement and Regulatory Documents establish the
                                         28   minimum standard quality assurance scores and requirements that each member must
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                                                 Case 2:18-cv-04677-SMB Document 1 Filed 12/14/18 Page 4 of 7




                                          1   meet to achieve and maintain membership.
                                          2           17.   If a member defaults on certain obligations, including those set forth in the
                                          3   Membership Agreement and Regulatory Documents, the Best Western Board of
                                          4   Directors may terminate the membership and the Best Western License.
                                          5           18.   The Membership Agreement and Regulatory Documents establish that the
                                          6   membership may be, among other reasons, cancelled should a member fail to “comply
                                          7   with the terms and condition or to meet the standards as set forth in the Regulatory
                                          8   Documents,” see Exhibit B, Article II, Section 8(A)(2), and upon the Members’ default
201 East Washington Street, Suite 1200




                                          9   of any obligation to Best Western, as more fully set forth in the Bylaws, Rules and
                                         10   Regulations, and Regulatory Documents. See, e.g., Ex. C, Rules and Regulations, Ch.
Phoenix, Arizona 85004-2595




                                         11   XII.
                                         12                    DEFENDANTS’ BEST WESTERN MEMBERSHIP
                                         13           19.   Defendant executed a Membership Application and Agreement on August
                                         14   9, 2010. At the time, Chris Hales was designated voting member.
                                         15           20.    On August 4, 2017, Kareem Eusoph Sethi replaced Chris Hales as Voting
                                         16   Member. As the new Voting Member, Defendant Sethi agreed to “be bound by the
                                         17   Membership Application and Agreement executed in connection with” the Hotel. See
                                         18   Ex. D, Application for Change in Voting Member.
                                         19           21.   Having accepted designation as the Voting Member, Defendant Sethi
                                         20   agreed to meet Best Western membership requirements, and agreed to be personally
                                         21   liable for the responsibilities of the Hotel’s Best Western affiliation, including the
                                         22   Membership Agreement and Regulatory Documents.
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                                          1           22.     Through the Membership Agreement and Regulatory Documents,
                                          2   Defendants agreed to timely pay all fees, dues, charges, and assessments imposed
                                          3   generally on the membership and to promptly pay the costs of all goods or services
                                          4   provided by or ordered through Best Western, including that past due amounts would
                                          5   bear interest 1.5% per month from the date due until paid. See Ex. A, Membership
                                          6   Agreement at ¶ 12.
                                          7           23.     The Regulatory Documents, which are incorporated by reference into the
                                          8   Membership Agreement, set forth certain brand standards to which Best Western
201 East Washington Street, Suite 1200




                                          9   members must adhere or risk termination of the membership. See Ex. C, Rules and
                                         10   Regulations, Rule 1100.6.
Phoenix, Arizona 85004-2595




                                         11           24.     On February 19, 2018, Defendants were notified that the membership was
                                         12   in jeopardy of termination for non-compliance with the standards in the Regulatory
                                         13   Documents. Defendants were notified of their right to request a hearing before Best
                                         14   Western’s Board of Directors to discuss the matter.
                                         15           25.     On February 22, 2018, Defendants requested a hearing before Best
                                         16   Western’s Board of Directors.
                                         17           26.     On April 24, 2018, Mr. Sethi attended the hearing and made a presentation
                                         18   to the Board.
                                         19           27.     Prior to the hearing, Best Western sent Defendants a hearing packet which
                                         20   contained the Hotel’s assessment history, a summary of previous attempts to resolve the
                                         21   Hotel’s deficiencies, and a copy of prior correspondence regarding the Hotel’s failure to
                                         22   comply with Best Western Regulatory Documents.
                                         23           28.     After considering the matters discussed and the information provided at the
                                         24   Hearing, Best Western’s Board of Directors voted to cancel Defendants’ membership.
                                         25           29.     Defendants’ were informed that their membership had been cancelled by
                                         26   phone either on April 27, 2018, or April 30, 2018, and by letter dated April 30, 2018. See
                                         27   Ex. E, 4/30/18 Letter.
                                         28           30.     The termination letter notified Defendants of their obligation to satisfy their
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                                          1   outstanding account balance as soon as possible.
                                          2           31.   The outstanding account balance includes fees for services provided to
                                          3   Defendants prior to the termination, in the amount of $49,931.22 Canadian Dollars
                                          4   (“CAD”), as well as contractual damages agreed by the parties to be paid upon early
                                          5   termination in the liquidated sum of $64,882.87 CAD.
                                          6           32.   The total account balance, with accrued interest, was $114,814.09 CAD
                                          7   ($87,476.17 USD) as of December 1, 2018. See Ex. F, Invoices.
                                          8           33.   As of the date of this complaint, Defendants still have not paid Best
201 East Washington Street, Suite 1200




                                          9   Western for their outstanding account balance.
                                         10                           COUNT I – BREACH OF CONTRACT
Phoenix, Arizona 85004-2595




                                         11           34.   Best Western incorporates by reference the allegations in the preceding
                                         12   paragraphs as though fully set forth herein.
                                         13           35.   The Membership Agreement is a valid, binding and enforceable contract.
                                         14           36.   Defendants have refused and continue to refuse to pay to Best Western the
                                         15   amounts due and owing as required by the Membership Agreement.
                                         16           37.   Best Western fully performed its obligations under the parties’ contract.
                                         17           38.   Defendants’ performance under the parties’ contract was not excused.
                                         18           39.   Pursuant to the express terms of the Membership Agreement, interest has
                                         19   accrued and continues to accrue on the unpaid amounts at 1.5% per month.
                                         20           40.   As December 1, 2018, there remains due and owing, by Defendants to Best
                                         21   Western, on the account, the sum of no less than $114,814.09 CAD ($87,476.17 USD),
                                         22   and that amount will increase because of the contractually-mandated interest. The
                                         23   outstanding account balance includes fees for services provided to Defendants before
                                         24   termination in the amount of $49,931.22 CAD. It also includes contractual damages
                                         25   agreed by the parties in the liquidated amount of $64,882.87 CAD. See Ex. F, Invoices.
                                         26                 COUNT II – BREACH OF THE IMPLIED COVENANT
                                                                OF GOOD FAITH AND FAIR DEALING
                                         27
                                         28           41.   Best Western incorporates by reference the allegations in the preceding
                                                                                             6
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                                          1   paragraphs as though fully set forth herein.
                                          2           42.   The Membership Agreement is a valid, binding, and enforceable contract.
                                          3           43.   The agreement contains an implied covenant of good faith and fair dealing.
                                          4           44.   Defendants’ conduct, as described herein, constitutes a breach of the
                                          5   covenant of good faith and fair dealing.
                                          6           45.   As a direct and proximate result of Defendants’ violation of the implied
                                          7   covenant, Best Western has suffered damages in an amount to be proven at trial.
                                          8                                   PRAYER FOR RELIEF
201 East Washington Street, Suite 1200




                                          9           WHEREFORE, Best Western International, Inc. seeks judgment against
                                         10   Defendants, jointly and severally, as follows:
Phoenix, Arizona 85004-2595




                                         11           A.    An award to Best Western of its damages in an amount to be proven at trial;
                                         12           B.    Attorneys’ fees and costs pursuant to the Membership Agreement, A.R.S.
                                         13                 §§ 12-341 and 12-341.01, or any other applicable law;
                                         14           C.    Pre- and post-judgment interest; and
                                         15           D.    Any other relief the Court deems just and proper.
                                         16           RESPECTFULLY SUBMITTED this 14th day of December, 2018.
                                         17                                         LEWIS ROCA ROTHGERBER CHRISTIE LLP
                                         18
                                         19                                         By:       /s/ Jennifer Lee-Cota
                                                                                             Jared Sutton
                                         20                                                  Jennifer Lee-Cota
                                                                                             Attorneys for Plaintiff
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